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         In the United States Court of Federal Claims
                                     No. 16-309C

                             (E-Filed November 22, 2021)

                                         )
ACLR, LLC,                               )
                                         )
              Plaintiff,                 )
                                         )
v.                                       )
                                         )
THE UNITED STATES,                       )
                                         )
              Defendant.                 )
                                         )

                               ORDER OF DISMISSAL

        Pursuant to the court’s March 23, 2020 opinion denying plaintiff’s motion for
partial summary judgment and granting defendant’s cross-motion for summary judgment
filed in the lead case, ACLR, LLC v. United States, Case No. 15-767C, of this previously
consolidated matter, the court denied plaintiff’s motion for summary judgment in this
matter and dismissed plaintiff’s claim for damages which were greater than the amount of
damages it presented to the contracting officer for lack of jurisdiction. See ACLR, LLC,
v. United States, Case No. 15-767C, ECF No. 76 at 14, 16-17 (March 23, 2020 opinion,
reported at ACLR, LLC v. United States, 147 Fed. Cl. 548 (2020)).

       Accordingly, pursuant to the court’s March 23, 2020 opinion, issued in ACLR,
LLC v. United States, Case No. 15-767C, ECF No. 76, the clerk’s office is directed to
ENTER final judgment for defendant DISMISSING plaintiff’s complaint in its entirety,
with prejudice. See id.

      IT IS SO ORDERED.



                                             s/ Patricia E. Campbell-Smith
                                             PATRICIA E. CAMPBELL-SMITH
                                             Judge
